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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
SEKIGUCHI CO., LTD.,
                                           Case No.: 1:19-cv-2808
      Plaintiff,
                                           Judge Rebecca R. Pallmeyer
   v.
                                           Magistrate Judge Sunil R. Harjani
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                   DEFENDANT
               28                                       breenca
               29                                      cornemiu
               30                                     Desertrose
               31                                  fashionistas1698
               32                                   fashionstore08
               33                                     Ganlu1992
               34                                      localking
               35                                      Loquat18
               36                                       luckyno
               37                                     melontwo
               38                                     mobiletoys
               39                                  pro_watches_mfr
               40                                   puddingstation
               41                                     Watch_vip
               42                                       xailiang
               57                                     Ancient88
               58                                  Dhgateaccessories
               59                                    Enchanting11
               60                                     Ferdimand
               61                                       Giftsale
               62                                      Growwin
               63                                      Haydena
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             64                                Herberta
             65                                  Jingo
             66                                Linyicity
             67                                Nikita123
             68                              Qiufenshuan
             69                                Shunshop
             70                                Stirringoa
             71                              Taihangshan
             72                                 Weiyi18
            209                            Blackpearljewelry
            210                              Cawholesale
            211                               Goodh1850
            212                              Kingabcstore
            213                                Lovekun
            214                                 Pineyin
            215                                 Smile36
            216                             Sunnysleepvip3
            217                                Yaoyao63
            218                              Z164568955
            219                             Zhenlianghouse




DATED: June 12, 2019                        Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 12, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
